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     Schiumberger

                                PRIMARY CEMENTING PROPOSAL
                                                 27/BIN. LONGS TRING




                          ARNOLD OIL PROPERTIES
                                                PITZER TRUST 1.-2

                                                           Well Location


                                                            County          Custer
                                                            State           Okia
                                                            Counh,          USA




             Prepared for                   Steve Kester                          Service Point               EL RENO, OK
                                                                                  Business Phone              405.262-6580
             Date Prepared                   31-May-07                            FAX No.                     405-282-5851
                                                                                  District contact            FELIPE QERMINI




                                               Prepared by                    FeHpe Gerrninl
                                               Phone                          405-262-6580
                                               FAX                            405-262-5851
                                               E-Mail address                 fgermlni@slb.com




    ITh   hlm.6m 1. mllod 01 good b.C lod  wwmnl U        m.d 0mm.! m.mnm, .m        b.      or to mom.nd.bons mmd. momm.wq .0mm, m
    IobU!nW bmo 0’..0, 01 m.t   0’ tormto. AIm.. qm.la0 mo 0.0.012.0 o., m.d my
                                                                                good lot d.to 1.00’ Iho .02. o( t,y. m,,d toym moy
                  lm mom,wL .04 mdmdd. .onm&y .,*.d m pb.m 1mm. uMm.o. Fto.dom 1mm
                                                                                          b01loQ.mmd 01 p01.01.0
                                                                                                          1 Do..! m 00101101 tod lob.




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                                                                                                                                        EXHIBIT

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                                                                     ARNOLD OIL PROPERflE5
                                                                     PflZER TRUST 1-2
   Scbiumbergér
                                 Well Data: 2 718 In. Longstrlng
          Siace            Depth                           13.444    ft.
                          Casing Size                        2 718   In., 6.5 )bsift.
                          Open Hole DIameter                4 314    In.
                          PreviousCsg. Depth               11,130    ft.
                          Previous Csg. Size                5 1)2    In., 17 Ibsift.
                          BHST                                230     F
                          BHCT                               210      F
                          Total Excess                         20
                          Tail Excess                                %
                                                               20    %


                         Mud Wtjrype; 12.3 ppp Fresh Wtr
         11.130 Il.                                      Based

                                          Calculations:
                         Volume Factors:
                         Casing x Open Hole                        0.078 cu.ft.Ift
        Top of Cement    Casing x Previous Casing
         11.900*.                                                  0.0881 cu.ftlft
                         Casing (Internal)
                                                                   0.0321 cu.ft.ift


                         Top of Cement
                                                                   11,900 ft.

                         Cement System:

                         Open Hole Rfl              (1.4 x 0.078 x 1.2)/1.41 103 sks.
                         Casing Shoe Cement                 (40 X 0.0321)/1.41 = 1 sks.
                                                           Total Tall Cement = 103 ske.




      7.D.. 13,44d ft.
                                                __      ___




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              Schiumberger                                                 MNOLO Oil.

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                                         Cementing Services Pricing

                                                                              Unit       Disc. Extended
             Units      UOM                    Description                    Price       %     Price
           MATERIALS AND EQUIPMENT:

                   I    EA.      PUMPCHARGE              13444 FTIST8HRS     35,200.00    48        18,304.00
                   I    EA.      STANDBY CMT. PUMPER (4 HOURS)                6,300.00    48         3,276.00
                   4    HRS.     ADDITIONAL HRS. ON PUMP                      1210.00     48         2,516.80
                   1    EA.      BATCH MIXER               100 BBLS           4,360.00    48         2,26720
                  4     HRS.     ADOm0NAL HRS. ON BATCH MIXER                   356.00    48           740.48
                15      HRS.     CEMENT BULK UNITS TIME ON LOCATION             230.00    48         1,913.60
               60       EA.      ROUNDTRIP MILEAGE (CARSflRUCKS)                  5.51    48           171.91
                  1     EA.      CemCAT/PRISMfTREATMENT DATA SERVICE          1,880.00    48           977.60
                95     SKS.      CLASS H CEMENT                                  42.15    48         2,082.21
               93      GWT.     031       BAR1TE WI. AGT.                        77.10   48          3,728.56
             3126      LBS.     D66       SILICA FLOUR                            0.66   48          1,072.84
               87      GALS.    0161      CEMENT RETARDER                        40.80   48          1,421.47
               20      GALS.    047       ANTIFOAMER                            100.70   48          1,047.28
               27      LBS.     0167      UNIFLAC                                88.40   48          1213.06
               27      LBS.     065       TIC DISPERSANT                         16.05   48            225.34
               10      BBLS.    CW-100CHEMICp.jWASH                             125.00   48            650.00
               40      GALS.    P40       SURFACTANT                            168.00   48         3,494.40
               30      BBLS.    0970      MUDPUSH II                           254.00    48         3,962.40
               60      MILES    MILEAGE ON                   3 UNITS              9.53   48           892.01
              321      T.M.     HAULING                   10.7 TONS               3.58   48           597.57
              209      CU.FT.   SERVICE CHG.                                      4.86   48           528.18
                 I     EA.      TOP PLUG (ALUMINUM)                            253.50    48           131.82
                 I     EA.      BOTTOM PLUG ALUMINUM                           624.00    48           324.48
                 3     UnIts    DOTTRUCKSURCRAJGE                              725.00    48         1,131.00
                3      EA.      Fuel Surcharge (3% Gross ServIces)             325.00     0           975.00
                                                 SUBTOTAL (PRICEBOOK)                     5    102,263.88
                                                 EFFECTIvE DISCOUNT              47.54    %     48,618.66
                                                 DISCOUNTED TOTAL PRICE                   $        53,645.22




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            S chill h           p                                                     ARNOlD OIL
                                                                                      PFIZER TRUST 1-2
                                                                                      Custer Cowty, Olda
                                                                                                           -__




               This quote is valid for a penod or thirty days from the date submitted. These
               prices are estimates based on current price structure and will vary somewhat
               wlt the materials, equipment, and time actuaHy required at the time of
               service. The discount shown will be applicable to the most current Doweif
               price book In effect at the time of service. Not included are the costs of fluid
               storage, oil, water, (or transportation thereof) except as listed. Dowell does
               not offer these services.

               The cement slurry data presented are from systems previously tested in
                                                                                         Dowell
               laboratories. Thickening time tests should be run when field mix water is
               available and final temperatures are known. Mud\Cement compatibility tests
               should be run when final mud systems are In use. These tests could cause
               quantity variatjon of the materials recommended, thereby affecting the price
               of the job.

               In the interest of safety, a pre-Job tailgate safety meeting will be held with
                                                                                              your
               representative and other on-location personnel to familiarize everyone with
               existing hazards arid safety procedures. During this meeting a designated
               wash-up area will be assigned for our cementing unit to dispose of our
                                                                                           cement
               slurry and drilling mud displacement fluid.

               Thank you for considering Dowell for this work. Please do not hesitate to
               call with any questions or concerns.




               Feilpe Germini
               El Reno Okia




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